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                              No. 21-16278


       IN THE UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT


           CALIFORNIA RESTAURANT ASSOCIATION,

                                          Plaintiff-Appellant,
                                     v.

                         CITY OF BERKELEY,

                                          Defendant-Appellee.


          On Appeal from the United States District Court
              for the Northern District of California


   BRIEF FOR THE UNITED STATES AS AMICUS CURIAE
      IN SUPPORT OF PETITION FOR REHEARING


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                   INTRODUCTION AND SUMMARY

       The Energy Policy and Conservation Act authorizes the federal

government to establish “energy conservation standards” for certain

consumer products and industrial equipment. Those standards

prescribe the energy efficiency, energy use, or water use of a covered

product in standardized laboratory conditions. Once the federal

government promulgates such a standard for a product, the provision of

the Act at issue here then preempts State and local requirements

concerning the elements of the federal energy conservation standard:

the energy efficiency, energy use, and water use of such product. The

Act thus prevents States and localities from attempting to do at their

level what the Department of Energy does at the federal level. That

conclusion accords with the statute’s text, context, and structure. It

leaves intact traditional State and local regulation of health, safety, and

drought response. And it is the long-settled understanding of the

federal government, the States, municipalities, and this Court—until

now.

       The panel opinion in this case upended those settled expectations.

It held that a particular municipal ordinance addressing a health and
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safety concern identified by local elected leaders is preempted by the

Act—even though the ordinance does not regulate the energy efficiency,

energy use, or water use of a covered product. The ordinance prohibits

the installation of certain energy infrastructure in new construction. It

thereby affects, indirectly, the circumstances in which some products

may be used in some locations. The panel did not explain why this

ordinance’s indirect effects warranted preemption or why other health

and safety ordinances would not. It thereby cast a cloud of uncertainty

over any health or safety law that may indirectly affect someone’s

ability to use a product for which the federal government has issued an

energy conservation standard. The panel opinion fails to address

several features of the statute, identified in the federal government’s

panel amicus brief, that counsel in favor of a narrower interpretation.

And it threatens to disrupt the orderly administration of the statute by

putting undue pressure on a statutory waiver provision that is ill-suited

to reviewing local regulations not aimed at energy conservation.

Rehearing is warranted to correct the panel’s error regarding these

issues of exceptional importance. Fed. R. App. P. 35(a)(2).




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                      STATEMENT OF THE CASE

     A.    The Energy Policy and Conservation Act (EPCA)

     EPCA establishes a comprehensive federal regime regulating

energy and water conservation standards for a variety of covered

products, often appliances. The statute defines a federal “energy

conservation standard” as, in relevant part, “a performance standard

which prescribes a minimum level of energy efficiency or a maximum

quantity of energy use, or … water use” for a covered product. 42 U.S.C.

§ 6291(6). “Energy efficiency” means “the ratio of the useful output of

services from a consumer product to the energy use of such product.” Id.

§ 6291(5). And “energy use” means “the quantity of energy directly

consumed by a consumer product at point of use, determined in

accordance with test procedures.” Id. § 6291(4).

     This case is about the scope of one of EPCA’s express preemption

provisions, which displaces certain State or local regulations where a

federal energy conservation standard exists for a covered product. As its

title states, the provision sets out a “[g]eneral rule of preemption for

energy conservation standards.” 42 U.S.C. § 6297(c). It provides that no

State or local “regulation concerning the energy efficiency, energy use,


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or water use of such covered product shall be effective with respect to

such product unless the regulation” falls into one of several categories

not relevant here. Id.

     The Department of Energy may waive the preemptive effect of the

statute under certain conditions. 42 U.S.C. § 6297(c)(2). Any State or

local government with a regulation that “provides for any energy

conservation standard or other requirement with respect to energy use,

energy efficiency, or water use” for a covered product for which there is

a federal energy conservation standard “may file a petition with the

Secretary requesting a rule that such State regulation become effective

with respect to such covered product.” Id. § 6297(d)(1).

     B.    Prior Proceedings

     In 2019, the City of Berkeley, California, adopted an ordinance

prohibiting, with certain exceptions, “[n]atural [g]as [i]nfrastructure”

(essentially pipes to carry natural gas) in newly constructed buildings.

ER-147-48 (Berkeley Municipal Code §§ 12.80.040.A, 12.80.080). A

restaurant industry association claims, as relevant here, that EPCA

preempts the ordinance. ER-103. The district court dismissed the

complaint. Concluding that EPCA preempts only energy conservation


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standards for covered products, or their equivalents, the court noted

that the pipes at issue in the ordinance are not covered products and

the ordinance “does not address” either energy efficiency or energy

usage of any covered products. ER-19. “Instead, the [o]rdinance focuses

on regulating the underlying natural gas infrastructure” and has only a

“downstream” and “indirect” effect on any covered product’s actual

energy usage in certain locations. ER-21, 22 & n.6.

     A panel of this Court reversed and remanded. The panel focused

its analysis narrowly on the phrase “concerning … energy use” in

EPCA’s preemption provision. The panel partially quoted EPCA’s

definition of “energy use” as “the quantity of energy directly consumed

by a consumer product at point of use,” 42 U.S.C. § 6291(4) (emphasis

added), and concluded that “EPCA is concerned with the end-user’s

ability to use installed covered products at their intended final

destinations,” Slip Op. 13. The panel further reasoned that the word

“concerning” “erase[d] any doubt” that EPCA preempted regulations

that only indirectly affect how a consumer may use a covered product.

Slip Op. 15-16. The panel reasoned that “a regulation may ‘concern’

something without directly regulating that thing.” Slip Op. 16. And “a


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regulation that bans the delivery of natural gas to products that operate

on natural gas ‘concerns’ the energy use of those products” and is thus

preempted. Id.

REASONS FOR GRANTING THE PETITION FOR REHEARING

     A.    EPCA Preempts State and Local Energy
           Conservation Standards and Their Equivalents,
           Not Health and Safety Regulations.

     “It is a fundamental canon of statutory construction that the

words of a statute must be read in their context and with a view to their

place in the overall statutory scheme.” Sturgeon v. Frost, 577 U.S. 424,

438 (2016) (quotation marks omitted). Here, the text, context, and

structure of EPCA and its express preemption clause, 42 U.S.C.

§ 6297(c), demonstrate that EPCA expressly preempts only State and

local regulations that prescribe the equivalent of an energy

conservation standard for a covered product.

     1. By its plain terms, the preemption provision at issue here is

triggered only when a federal “energy conservation standard” comes

into effect “for any covered product.” 42 U.S.C. § 6297(c). An “energy

conservation standard” is defined, in relevant part, as “a performance

standard which prescribes a minimum level of energy efficiency or a


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maximum quantity of energy use, or … water use, for a covered product,

determined in accordance with test procedures.” Id. § 6291(6)

(emphases added). Once the federal government issues a standard for a

covered product prescribing that product’s performance in one of those

categories—energy efficiency, energy use, or water use—EPCA provides

that “no State regulation concerning the energy efficiency, energy use, or

water use of such covered product shall be effective with respect to such

product.” Id. § 6297(c) (emphases added).

     EPCA’s preemption provision thus works hand-in-glove with the

scope of authority that EPCA grants the federal government to issue

energy conservation standards for covered products. EPCA uses the

same elements—the “energy efficiency,” “energy use,” and “water use”

of a “covered product”—to define both the federal energy conservation

standards that the Department issues for covered products and to

define the scope of State and local law that is preempted by the

issuance of federal energy conservation standards for covered products.

42 U.S.C. §§ 6291(6), 6295, 6297(c). EPCA thus prevents States and

localities from attempting to do at their level what the Department of

Energy does at the federal level.


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     That is the conclusion that two panels of this Court correctly

reached in prior cases examining related aspects of EPCA’s preemption

provision: “Federal regulations promulgated under EPCA provide

minimum standards for the energy efficiency of such fixtures, and the

federal statute preempts state attempts to impose minimum standards

greater than the federal law.” Building Indus. Ass’n of Wash. v.

Washington State Bldg. Code Council, 683 F.3d 1144, 1148 (9th Cir.

2012) (citation omitted); see also Air Conditioning & Refrigeration Inst.

v. Energy Res. Conservation & Dev. Comm’n, 410 F.3d 492, 500 (9th Cir.

2005) (EPCA “preempt[s] state energy efficiency standards.”).

     That conclusion is reinforced by the title of the preemption

provision. There, Congress explained that the provision sets out a

“[g]eneral rule of preemption for energy conservation standards when

[a] Federal standard becomes effective for [a] product.” 42 U.S.C.

§ 6297(c) (emphasis added). Such headings, while “not commanding” on

their own, “supply cues” regarding a statute’s reach. Yates v. United

States, 574 U.S. 528, 540 (2015). And here, the title cues the reader to

draw an equivalence between the federal energy conservation standards




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issued under the Act and the State and local laws preempted by the Act

upon issuance of a federal standard.

     That equivalence is further reinforced by language in the

preemption clause specifying that both the federal standards and the

preempted State and local standards are product focused. Upon the

issuance of a federal standard “for any covered product,” the statute

preempts certain State and local standards concerning the energy

efficiency or energy or water use “of such covered product” and provides

that those State and local standards shall not be effective “with respect

to such product.” 42 U.S.C. § 6297(c). The statute thus presupposes that

the kinds of standards that may be preempted are those that are drawn

with respect to “such” covered product—as will be the case when a State

or local government issues its own energy conservation standard

prescribing the energy efficiency, energy use, or water use of a covered

product. The product-focused language of the preemption clause would

exclude from preemption, by contrast, a State or local health or safety

standard that does not regulate any covered product. It is unclear, for

example, how something like the ordinance at issue here could be

preempted “with respect” to covered products but not with respect to


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other products not covered by EPCA energy conservations standards.

Contra Slip Op. 18-19. The same pipes going from the meter into the

building would serve both types of products.

     EPCA’s waiver provision points to the same conclusion. The

statute allows the Department of Energy to waive preemption if, among

other things, the Department finds that the State regulation that would

otherwise be preempted is “needed to meet unusual and compelling

State or local energy or water interests,” such as when the “energy or

water savings resulting from the State regulation” outweigh its overall

costs, broadly conceived. 42 U.S.C. § 6297(d)(1)(B), (C). Congress thus

tailored the waiver standard to match the kind of regulations that are

preempted by EPCA. State energy or water conservation standards, or

their equivalents, may help meet local conservation needs and thus

qualify for waiver in appropriate circumstances. State regulations

aimed at health and safety goals (such as fire safety or the avoidance of

pollution), by contrast, do not neatly fit with the prescribed waiver

standard. Health and safety regulations might not produce any energy

or water savings at all, as that is not their goal. It is thus highly

implausible that Congress intended to preempt both State energy


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conservation standards and (implicitly) health and safety laws but

created a pathway for waiver that appears to speak directly to only the

former.

      2. The panel erred in holding that EPCA not only preempts State

and local energy conservation standards but also reaches, seemingly, a

broad swath of health and safety regulations that may indirectly affect

the circumstances in which a covered product may be used but do not

prescribe a product’s energy efficiency, energy use, or water use. “If

Congress indeed meant to make § [6297(c)] an all-encompassing ban” on

such traditional areas of State and local regulation, “one would have

expected a clearer indication of that intent.” Yates, 574 U.S. at 540. Yet

EPCA contains no features that would support assigning to Congress

the implausible intent to accord such broad preemptive effect to the

much narrower issuance of a federal energy conservation standard for a

covered product.

     The panel chiefly construed the statutory definition of “energy

use” to protect “the end-user’s ability to use installed covered products

at their intended final destinations.” Slip Op. 13. There is no provision

in EPCA that addresses whether and to what extent a covered product


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subject to a federal energy conservation standard must be able to be

used by a consumer in various circumstances. If Congress had wanted

to include a guarantee-of-use clause in the preemption provision, it

could have sought to do so in a straightforward manner. But “Congress

does not hide elephants in mouseholes.” Cyan, Inc. v. Beaver Cty. Emps.

Ret. Fund, 138 S. Ct. 1061, 1071-72 (2018) (quotation marks omitted).

And EPCA’s inclusion of “use” and “point of use” in its definition of

“energy use” does not transform that definition, or the substantive

provisions that draw on it, into guarantee-of-use clauses.

     The statute defines “energy use” and “energy efficiency” (as well

as “water use”) in order to give meaning to the “energy conservation

standards” that the Act empowers the Department to issue. 42 U.S.C.

§§ 6291(4)-(6), 6295. “Energy use” is defined as the quantity of energy

consumed at the appliance’s point of use as determined “in accordance

with test procedures” measuring an appliance’s typical energy use over

“a representative average use cycle or period of use.” Id. §§ 6291(4),

6293(b)(3). The statute thus defines a covered product’s “energy use”

under standardized testing conditions. It does not guarantee that




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consumers will be able to actually use a covered product in any

circumstance they may wish.

     The panel also erred in concluding that Congress “expand[ed]

preemption beyond direct or facial regulations of covered appliances” by

preempting State and local regulations “concerning”—as opposed to

“of ”—the energy efficiency, energy use, and water use of covered

products. Slip Op. 16. While the word “concerning,” read in a vacuum,

could mean “relating to” in some variable degree, the Supreme Court

has cautioned that determining whether or not “[a] word in a statute …

extends[] to the outer limits of its definitional possibilities … depends

upon reading the whole statutory text, considering the purpose and

context of the statute.” Dolan v. U.S. Postal Serv., 546 U.S. 481, 486

(2006). The panel did not identify any basis for choosing a broad over a

narrow meaning of “concerning” here. As explained above, the rest of

the statutory text, context, and structure indicates that the relevant

provisions of EPCA are product focused. They authorize the

promulgation of federal energy conservation standards of covered

products and preempt similar State and local regulation of such

products. A narrower, product-focused definition is thus appropriate.


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Dubin v. United States, 599 U.S. __, 2023 WL 3872518, at *7 (2023)

(interpreting “elastic” statutory phrase, “in relation to,” narrowly in

light of “the title Congress chose”).

     Indeed, Congress made crystal clear in another portion of the

same section of EPCA that, by referring to a regulation “concerning” a

product, Congress meant a regulation “of ” that product. In that

provision, Congress explained what happens when federal preemption

of a State regulation has previously been waived “and subsequently a

Federal energy conservation standard concerning such product is

amended.” 42 U.S.C. § 6297(d)(6) (emphasis added). As with many of

the textual arguments set out above, the panel did not address that

argument or explain why the same word—“concerning”—should be

interpreted in two different ways within the same section of the same

statute.

     EPCA’s waiver provision underscores the narrow meaning of

“concerning” in the preemption clause. The waiver provision allows the

Department to waive the preemption of a State or local regulation that

“provides for any energy conservation standard or other requirement

with respect to energy use, energy efficiency, or water use for any …


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covered product.” 42 U.S.C. § 6297(d)(1)(A) (emphases added). Under

familiar interpretive principles, “general words”—such as, here, “other

requirement with respect to energy use, energy efficiency, or water

use”—“are construed to embrace only objects similar in nature to those

objects enumerated by the preceding specific words.” Washington State

Dep’t of Soc. & Health Servs. v. Guardianship Estate of Keffeler, 537

U.S. 371, 384 (2003) (quotation marks omitted).

     Applying that principle here, the kind of requirement discussed in

the waiver clause that is drawn “with respect to” the elements of an

energy conservation standard is best interpreted in a manner similar to

the product-focused “energy conservation standard” that immediately

precedes it. Contrary to the panel opinion, this interpretation does not

“create redundancy in the statutory text.” Slip Op. 20. It captures both

“energy conservation standards,” styled as such, and requirements

targeting the same elements as energy conservation standards (that is,

the energy efficiency, energy use, or water use of covered products),

regardless of how they may be styled. And, because “similar language

contained within the same section of a statute must be accorded a

consistent meaning,” National Credit Union Admin. v. First Nat’l Bank


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& Tr. Co., 522 U.S. 479, 501 (1998), the same construction should also

apply to the similar language in the preemption provision discussing

regulations “concerning” the elements of an energy conservation

standard. The panel did not address this argument, either.

        The panel’s discussion of building codes (Slip Op. 16-17, 18 n.5)

also misses the mark. State and local building codes fall within the

scope of the preemption clause if they establish energy conservation

standards or similar requirements, such as a regulation prohibiting

“hook-ups for appliances with less than a certain efficiency.” 47 Fed.

Reg. 57,198, 57,215 (Dec. 22, 1982). But a regulation that does not do so

is not preempted simply because it could be characterized as a building

code.

        B.   The Panel’s Contrary Opinion Threatens to
             Preempt Broad Swaths of State and Local Law
             and Disrupt Federal Administration of EPCA.

        1. Rehearing is warranted to correct these significant errors. The

panel’s analysis is inconsistent with New York State Conference of Blue

Cross & Blue Shield Plans v. Travelers Insurance Co., 514 U.S. 645

(1995). There, the Supreme Court interpreted a provision of the

Employee Retirement Income Security Act (ERISA) that preempts any


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State law that “relate[s] to” an employee benefit plan regulated under

ERISA. Id. at 651 (quoting 29 U.S.C. § 1144(a)). The Court concluded

that the ERISA preemption provision leaves States free to adopt

“[q]uality standards” and “basic regulation of employment conditions

[that] invariably affect the cost and price of services” obtained by

covered plans. Id. at 660. The Court explained that, “[i]f ‘relate to’ were

taken to extend to the furthest stretch of its indeterminacy, then for all

practical purposes pre-emption would never run its course.” Id. at 655.

     The panel opinion in this case stretches the indeterminacy of the

word “concerning” in the same manner the Supreme Court warned

against in Travelers with respect to the phrase “relat[ing] to.” It thereby

threatens a broad swath of State and local health and safety protections

by making EPCA preemption turn on unpredictable judicial intuitions

about which laws indirectly, but sufficiently, affect consumers’ use of a

covered product in a manner that warrants preemption. If any indirect

impact were sufficient, States would be disabled from regulating to

protect traditional State concerns in areas well within their well-

established authority.




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     A local regulation prohibiting the installation of an oversized

furnace in a too-small space indirectly affects a consumer’s ability to use

that product in certain circumstances. Local safety regulations

concerning propane tanks or electric space heaters may have similar

consequences. There should be no doubt, however, that such regulations

are not preempted by EPCA. And, for a long time, there was no doubt

on that score, see 47 Fed. Reg. at 57,215 (oversized furnace regulation

not preempted)—until the panel opinion in this case. Here, local elected

leaders determined that an ordinance was “reasonably necessary” to

address the “health and safety” of residents “suffer[ing] from asthma

and other health conditions associated with poor indoor and outdoor air

quality.” ER-146 (Berkeley Municipal Code § 12.80.010.C). Such “health

and safety” issues are “primarily, and historically, matters of local

concern.” Medtronic, Inc. v. Lohr, 518 U.S. 470, 475 (1996) (cleaned up).

The panel held that EPCA preempts the ordinance because of its

indirect effects on the use of covered products. The panel did not

expressly identify a limiting principle or articulate what amount or type

of indirect effect would be too much. By failing to articulate a dividing

line between indirect regulations that are preempted and indirect


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regulations that are not, the panel opinion left under a cloud of

uncertainty any State or local health and safety regulation that has an

indirect effect of any sort on the circumstances in which a covered

product may be used. See Slip Op. 22.

     That is not a cloud that States, municipalities, or the federal

government should have to live under. Nothing in EPCA, properly

understood, disables a State or locality from exercising its police power

to prohibit the use of items that, in its judgment, are dangerous or

unsafe. Regardless of whether any particular health or safety concerns

are best addressed by any particular regulation, the key point here is

that the nation benefits from States and localities experimenting with

different approaches to matters within their historical police powers.

And the preemption provision in a federal statute about energy

conservation standards for covered products does not stand in the way

of different localities deciding for themselves whether and how to tackle

any number of health and safety concerns identified by local leaders in

ways that may have an indirect effect on a consumer’s ability to use a

covered product in certain circumstances. See, e.g., U.S. Panel Amicus

Br. 24 (discussing longstanding local health-and-safety regulation of


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nitrogen oxide emissions from gas-fired water heaters). The federal

government has a significant interest in ensuring that this federal

statute does not needlessly displace State and local law that is outside

the scope of the express preemption provision.

     2. The panel opinion also threatens the Department’s orderly

administration of EPCA. Cf. Wyeth v. Levine, 555 U.S. 555, 576 (2009)

(“[W]e have attended to an agency’s explanation of how state law affects

the regulatory scheme.”). Absent rehearing, the panel’s overbroad

interpretation of the preemption provision is likely to put enormous

strain on the waiver process. If any regulation, including a health and

safety regulation, that has an indirect effect on the energy use of a

covered product in a certain location is potentially subject to

preemption, the Department is likely to be inundated with requests for

waivers. It will have to decide those requests using notice-and-comment

rulemaking within a six-month (or, in some circumstances, one-year)

period after receiving a petition. 42 U.S.C. § 6297(d)(2). A flood of

waiver requests would greatly burden Department resources.

     That strain will be compounded by the difficulty of applying the

statutory waiver considerations outside the context of energy


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conservation standards. The Department may waive preemption, for

example, if “the State … has established by a preponderance of the

evidence that such State regulation is needed to meet unusual and

compelling State or local energy or water interests.” 42 U.S.C.

§ 6297(d)(1)(B). It is not clear how the Department should evaluate a

regulation aimed at objectives other than energy conservation, such as

fire prevention, the avoidance of environmental harms, or other risks to

human health and safety. In processing a flood of waiver requests, the

Department would be drawn into needless disputes with States and

localities. And, all the while, the harms targeted by those regulations

could continue unchecked, as EPCA does not generally empower the

federal government to itself address health and safety matters that,

under the panel opinion, States and localities are preempted by EPCA

from addressing.

     Finally, the panel opinion upends the process by which the

Department has established energy conservation standards for new

products. The Department’s coverage determinations have been based

on considerations of the purposes of EPCA and technical considerations

relating to the energy consumption of the product at issue. 42 U.S.C.


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§ 6292(b)(1)(A)-(B). Until now, the Department has promulgated energy

conservations standards for numerous covered products without fear

that, by doing so, the Department would thereby also be preempting

vast swaths of State and local health and safety laws. If the panel’s

erroneous opinion stands, the Department’s decisions going forward

could quickly be overtaken by debates over interference with State and

local policy in areas other than energy conservation (and possibly

outside the Department’s expertise).

     This Court should grant rehearing to correct a panel opinion that

destabilizes the long-settled understanding shared by the Department,

the States, municipalities, and the courts over the allocation of

regulatory authority in this area; threatens to preempt broad swaths of

State and local health and safety law; and throws a wrench into the

federal government’s administration of the Act.




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                               CONCLUSION

     For the foregoing reasons, the petition for rehearing should be

granted and the judgment of the district court should be affirmed.

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                  CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Ninth Circuit

Rule 29-2(c)(2) because it contains 4,199 words. This brief also complies

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                     CERTIFICATE OF SERVICE

     I hereby certify that on June 12, 2023, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court

of Appeals for the Ninth Circuit by using the appellate CM/ECF system.




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                          ADDENDUM
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42 U.S.C. § 6291 (excerpts)
§ 6291. Definitions
For purposes of this part:
   (1) The term “consumer product” means any article (other than an
   automobile, as defined in section 32901(a)(3) of Title 49) of a type—
     (A) which in operation consumes, or is designed to consume,
     energy or, with respect to showerheads, faucets, water closets, and
     urinals, water; and
     (B) which, to any significant extent, is distributed in commerce for
     personal use or consumption by individuals;
     without regard to whether such article of such type is in fact
     distributed in commerce for personal use or consumption by an
     individual, except that such term includes fluorescent lamp
     ballasts, general service fluorescent lamps, incandescent reflector
     lamps, showerheads, faucets, water closets, and urinals
     distributed in commerce for personal or commercial use or
     consumption.
   (2) The term “covered product” means a consumer product of a type
   specified in section 6292 of this title.
   (3) The term “energy” means electricity, or fossil fuels. The Secretary
   may, by rule, include other fuels within the meaning of the term
   “energy” if he determines that such inclusion is necessary or
   appropriate to carry out the purposes of this chapter.
   (4) The term “energy use” means the quantity of energy directly
   consumed by a consumer product at point of use, determined in
   accordance with test procedures under section 6293 of this title.
   (5) The term “energy efficiency” means the ratio of the useful output
   of services from a consumer product to the energy use of such
   product, determined in accordance with test procedures under
   section 6293 of this title.
   (6) The term “energy conservation standard” means—
     (A) a performance standard which prescribes a minimum level of
     energy efficiency or a maximum quantity of energy use, or, in the
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          case of showerheads, faucets, water closets, and urinals, water
          use, for a covered product, determined in accordance with test
          procedures prescribed under section 6293 of this title; or
          (B) a design requirement for the products specified in paragraphs
          (6), (7), (8), (10), (15), (16), (17), and (20) of section 6292(a) of this
          title; and
          includes any other requirements which the Secretary may
          prescribe under section 6295(r) of this title.
      …


42 U.S.C. § 6293 (excerpts)
§ 6293. Test procedures
...
(b) Amended and new procedures
      (1) Test procedures.—
            ...
          (B) The Secretary may, in accordance with the requirements of
          this subsection, prescribe test procedures for any consumer
          product classified as a covered product under section 6292(b) of
          this title.
          ...
      ...
      (3) Any test procedures prescribed or amended under this section
      shall be reasonably designed to produce test results which measure
      energy efficiency, energy use, water use (in the case of showerheads,
      faucets, water closets and urinals), or estimated annual operating
      cost of a covered product during a representative average use cycle
      or period of use, as determined by the Secretary, and shall not be
      unduly burdensome to conduct.
      ...
...

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42 U.S.C. § 6295 (excerpts)
§ 6295. Energy conservation standards
(a) Purposes. The purposes of this section are to—
    (1) provide Federal energy conservation standards applicable to
    covered products; and
    (2) authorize the Secretary to prescribe amended or new energy
    conservation standards for each type (or class) of covered product.
…
(l ) Standards for other covered products
    (1) The Secretary may prescribe an energy conservation standard for
    any type (or class) of covered products of a type specified in
    paragraph (20) of section 6292(a) of this title if the requirements of
    subsections (o) and (p) are met and the Secretary determines that—
        (A) the average per household energy use within the United States
        by products of such type (or class) exceeded 150 kilowatt-hours (or
        its Btu equivalent) for any 12-month period ending before such
        determination;
        (B) the aggregate household energy use within the United States
        by products of such type (or class) exceeded 4,200,000,000
        kilowatt-hours (or its Btu equivalent) for any such 12-month
        period;
        (C) substantial improvement in the energy efficiency of products of
        such type (or class) is technologically feasible; and
        (D) the application of a labeling rule under section 6294 of this
        title to such type (or class) is not likely to be sufficient to induce
        manufacturers to produce, and consumers and other persons to
        purchase, covered products of such type (or class) which achieve
        the maximum energy efficiency which is technologically feasible
        and economically justified.
    …
…
(r) Inclusion in standards of test procedures and other requirements

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Any new or amended energy conservation standard prescribed under
this section shall include, where applicable, test procedures prescribed
in accordance with section 6293 of this title and may include any
requirement which the Secretary determines is necessary to assure that
each covered product to which such standard applies meets the required
minimum level of energy efficiency or maximum quantity of energy use
specified in such standard.
…

42 U.S.C. § 6297
§ 6297. Effect on other law
(a) Preemption of testing and labeling requirements
    (1) Effective on March 17, 1987, this part supersedes any State
    regulation insofar as such State regulation provides at any time for
    the disclosure of information with respect to any measure of energy
    consumption or water use of any covered product if—
      (A) such State regulation requires testing or the use of any
      measure of energy consumption, water use, or energy descriptor in
      any manner other than that provided under section 6293 of this
      title; or
      (B) such State regulation requires disclosure of information with
      respect to the energy use, energy efficiency, or water use of any
      covered product other than information required under section
      6294 of this title.
    (2) For purposes of this section, the following definitions apply:
      (A) The term “State regulation” means a law, regulation, or other
      requirement of a State or its political subdivisions. With respect to
      showerheads, faucets, water closets, and urinals, such term shall
      also mean a law, regulation, or other requirement of a river basin
      commission that has jurisdiction within a State.
      (B) The term “river basin commission” means—




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      (i) a commission established by interstate compact to apportion,
      store, regulate, or otherwise manage or coordinate the
      management of the waters of a river basin; and
      (ii) a commission established under section 1962b(a) of this title.
(b) General rule of preemption for energy conservation standards before
Federal standard becomes effective for product.
Effective on March 17, 1987, and ending on the effective date of an
energy conservation standard established under section 6295 of this
title for any covered product, no State regulation, or revision thereof,
concerning the energy efficiency, energy use, or water use of the covered
product shall be effective with respect to such covered product, unless
the State regulation or revision—
   (1)(A) was prescribed or enacted before January 8, 1987, and is
   applicable to products before January 3, 1988, or in the case of any
   portion of any regulation which establishes requirements for
   fluorescent lamp ballasts, was prescribed or enacted before June 28,
   1988, or in the case of any portion of any regulation which
   establishes requirements for fluorescent or incandescent lamps, flow
   rate requirements for showerheads or faucets, or water use
   requirements for water closets or urinals, was prescribed or enacted
   before October 24, 1992; or
   (B) in the case of any portion of any regulation that establishes
   requirements for general service incandescent lamps, intermediate
   base incandescent lamps, or candelabra base lamps, was enacted or
   adopted by the State of California or Nevada before December 4,
   2007, except that—
     (i) the regulation adopted by the California Energy Commission
     with an effective date of January 1, 2008, shall only be effective
     until the effective date of the Federal standard for the applicable
     lamp category under subparagraphs (A), (B), and (C) of section
     6295(i)(1) of this title; and
     (ii) the States of California and Nevada may, at any time, modify
     or adopt a State standard for general service lamps to conform
     with Federal standards with effective dates no earlier than 12
     months prior to the Federal effective dates prescribed under

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     subparagraphs (A), (B), and (C) of section 6295(i)(1) of this title, at
     which time any prior regulations adopted by the State of
     California or Nevada shall no longer be effective.
     (iii) Repealed. Pub.L. 112-210, § 10(a)(9)(C), Dec. 18, 2012, 126
     Stat. 1525
   (2) is a State procurement regulation described in subsection (e);
   (3) is a regulation described in subsection (f)(1) or is prescribed or
   enacted in a building code for new construction described in
   subsection (f)(2);
   (4) is a regulation prohibiting the use in pool heaters of a constant
   burning pilot, or is a regulation (or portion thereof) regulating
   fluorescent lamp ballasts other than those to which paragraph (5) of
   section 6295(g) of this title is applicable, or is a regulation (or
   portion thereof) regulating fluorescent or incandescent lamps other
   than those to which section 6295(i) of this title is applicable, or is a
   regulation (or portion thereof) regulating showerheads or faucets
   other than those to which section 6295(j) of this title is applicable or
   regulating lavatory faucets (other than metering faucets) for
   installation in public places, or is a regulation (or portion thereof)
   regulating water closets or urinals other than those to which section
   6295(k) of this title is applicable;
   (5) is a regulation described in subsection (d)(5)(B) for which a
   waiver has been granted under subsection (d);
   (6) is a regulation effective on or after January 1, 1992, concerning
   the energy efficiency or energy use of television sets; or
   (7) is a regulation (or portion thereof) concerning the water efficiency
   or water use of low consumption flushometer valve water closets.
(c) General rule of preemption for energy conservation standards when
Federal standard becomes effective for product.
Except as provided in section 6295(b)(3)(A)(ii) of this title,
subparagraphs (B) and (C) of section 6295(j)(3) of this title, and
subparagraphs (B) and (C) of section 6295(k)(3) of this title and effective
on the effective date of an energy conservation standard established in
or prescribed under section 6295 of this title for any covered product, no

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State regulation concerning the energy efficiency, energy use, or water
use of such covered product shall be effective with respect to such
product unless the regulation—
   (1) is a regulation described in paragraph (2) or (4) of subsection (b),
   except that a State regulation (or portion thereof) regulating
   fluorescent lamp ballasts other than those to which paragraph (5) of
   section 6295(g) of this title is applicable shall be effective only until
   the effective date of a standard that is prescribed by the Secretary
   under paragraph (7) of such section and is applicable to such
   ballasts, except that a State regulation (or portion thereof)
   regulating fluorescent or incandescent lamps other than those for
   which section 6295(i) of this title is applicable shall be effective only
   until the effective date of a standard that is prescribed by the
   Secretary and is applicable to such lamps;
   (2) is a regulation which has been granted a waiver under subsection
   (d);
   (3) is in a building code for new construction described in subsection
   (f)(3);
   (4) is a regulation concerning the water use of lavatory faucets
   adopted by the State of New York or the State of Georgia before
   October 24, 1992;
   (5) is a regulation concerning the water use of lavatory or kitchen
   faucets adopted by the State of Rhode Island prior to October 24,
   1992;
   (6) is a regulation (or portion thereof) concerning the water efficiency
   or water use of gravity tank-type low consumption water closets for
   installation in public places, except that such a regulation shall be
   effective only until January 1, 1997; or
   (7)(A) is a regulation concerning standards for commercial prerinse
   spray valves adopted by the California Energy Commission before
   January 1, 2005; or
   (B) is an amendment to a regulation described in subparagraph (A)
   that was developed to align California regulations with changes in
   American Society for Testing and Materials Standard F2324;

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   (8)(A) is a regulation concerning standards for pedestrian modules
   adopted by the California Energy Commission before January 1,
   2005; or
   (B) is an amendment to a regulation described in subparagraph (A)
   that was developed to align California regulations to changes in the
   Institute for Transportation Engineers standards, entitled
   “Performance Specification: Pedestrian Traffic Control Signal
   Indications”; and
   (9) is a regulation concerning metal halide lamp fixtures adopted by
   the California Energy Commission on or before January 1, 2011,
   except that—
   (A) if the Secretary fails to issue a final rule within 180 days after
   the deadlines for rulemakings in section 6295(hh) of this title,
   notwithstanding any other provision of this section, preemption
   shall not apply to a regulation concerning metal halide lamp fixtures
   adopted by the California Energy Commission—
     (i) on or before July 1, 2015, if the Secretary fails to meet the
     deadline specified in section 6295(hh)(2) of this title; or
     (ii) on or before July 1, 2022, if the Secretary fails to meet the
     deadline specified in section 6295(hh)(3) of this title.
(d) Waiver of Federal preemption
   (1)(A) Any State or river basin commission with a State regulation
   which provides for any energy conservation standard or other
   requirement with respect to energy use, energy efficiency, or water
   use for any type (or class) of covered product for which there is a
   Federal energy conservation standard under section 6295 of this
   title may file a petition with the Secretary requesting a rule that
   such State regulation become effective with respect to such covered
   product.
   (B) Subject to paragraphs (2) through (5), the Secretary shall, within
   the period described in paragraph (2) and after consideration of the
   petition and the comments of interested persons, prescribe such rule
   if the Secretary finds (and publishes such finding) that the State or
   river basin commission has established by a preponderance of the

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evidence that such State regulation is needed to meet unusual and
compelling State or local energy or water interests.
(C) For purposes of this subsection, the term “unusual and
compelling State or local energy or water interests” means interests
which—
  (i) are substantially different in nature or magnitude than those
  prevailing in the United States generally; and
  (ii) are such that the costs, benefits, burdens, and reliability of
  energy or water savings resulting from the State regulation make
  such regulation preferable or necessary when measured against
  the costs, benefits, burdens, and reliability of alternative
  approaches to energy or water savings or production, including
  reliance on reasonably predictable market-induced improvements
  in efficiency of all products subject to the State regulation.
The factors described in clause (ii) shall be evaluated within the
context of the State's energy plan and forecast, and, with respect to a
State regulation for which a petition has been submitted to the
Secretary which provides for any energy conservation standard or
requirement with respect to water use of a covered product, within
the context of the water supply and groundwater management plan,
water quality program, and comprehensive plan (if any) of the State
or river basin commission for improving, developing, or conserving a
waterway affected by water supply development.
(2) The Secretary shall give notice of any petition filed under
paragraph (1)(A) and afford interested persons a reasonable
opportunity to make written comments, including rebuttal
comments, thereon. The Secretary shall, within the 6-month period
beginning on the date on which any such petition is filed, deny such
petition or prescribe the requested rule, except that the Secretary
may publish a notice in the Federal Register extending such period
to a date certain but no longer than one year after the date on which
the petition was filed. Such notice shall include the reasons for
delay. In the case of any denial of a petition under this subsection,
the Secretary shall publish in the Federal Register notice of, and the
reasons for, such denial.


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(3) The Secretary may not prescribe a rule under this subsection if
the Secretary finds (and publishes such finding) that interested
persons have established, by a preponderance of the evidence, that
such State regulation will significantly burden manufacturing,
marketing, distribution, sale, or servicing of the covered product on
a national basis. In determining whether to make such finding, the
Secretary shall evaluate all relevant factors, including—
  (A) the extent to which the State regulation will increase
  manufacturing or distribution costs of manufacturers,
  distributors, and others;
  (B) the extent to which the State regulation will disadvantage
  smaller manufacturers, distributors, or dealers or lessen
  competition in the sale of the covered product in the State;
  (C) the extent to which the State regulation would cause a burden
  to manufacturers to redesign and produce the covered product
  type (or class), taking into consideration the extent to which the
  regulation would result in a reduction—
   (i) in the current models, or in the projected availability of
   models, that could be shipped on the effective date of the
   regulation to the State and within the United States; or
   (ii) in the current or projected sales volume of the covered
   product type (or class) in the State and the United States; and
  (D) the extent to which the State regulation is likely to contribute
  significantly to a proliferation of State appliance efficiency
  requirements and the cumulative impact such requirements
  would have.
(4) The Secretary may not prescribe a rule under this subsection if
the Secretary finds (and publishes such finding) that interested
persons have established, by a preponderance of the evidence, that
the State regulation is likely to result in the unavailability in the
State of any covered product type (or class) of performance
characteristics (including reliability), features, sizes, capacities, and
volumes that are substantially the same as those generally available
in the State at the time of the Secretary's finding, except that the
failure of some classes (or types) to meet this criterion shall not

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affect the Secretary's determination of whether to prescribe a rule
for other classes (or types).
(5) No final rule prescribed by the Secretary under this subsection
may—
  (A) permit any State regulation to become effective with respect to
  any covered product manufactured within three years after such
  rule is published in the Federal Register or within five years if the
  Secretary finds that such additional time is necessary due to the
  substantial burdens of retooling, redesign, or distribution needed
  to comply with the State regulation; or
  (B) become effective with respect to a covered product
  manufactured before the earliest possible effective date specified
  in section 6295 of this title for the initial amendment of the energy
  conservation standard established in such section for the covered
  product; except that such rule may become effective before such
  date if the Secretary finds (and publishes such finding) that, in
  addition to the other requirements of this subsection the State has
  established, by a preponderance of the evidence, that—
   (i) there exists within the State an energy emergency condition
   or, if the State regulation provides for an energy conservation
   standard or other requirement with respect to the water use of a
   covered product for which there is a Federal energy conservation
   standard under subsection (j) or (k) of section 6295 of this title, a
   water emergency condition, which—
       (I) imperils the health, safety, and welfare of its residents
       because of the inability of the State or utilities within the
       State to provide adequate quantities of gas or electric energy
       or, in the case of a water emergency condition, water or
       wastewater treatment, to its residents at less than prohibitive
       costs; and
       (II) cannot be substantially alleviated by the importation of
       energy or, in the case of a water emergency condition, by the
       importation of water, or by the use of interconnection
       agreements; and


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      (ii) the State regulation is necessary to alleviate substantially
      such condition.
   (6) In any case in which a State is issued a rule under paragraph (1)
   with respect to a covered product and subsequently a Federal energy
   conservation standard concerning such product is amended
   pursuant to section 6295 of this title, any person subject to such
   State regulation may file a petition with the Secretary requesting
   the Secretary to withdraw the rule issued under paragraph (1) with
   respect to such product in such State. The Secretary shall consider
   such petition in accordance with the requirements of paragraphs (1),
   (3), and (4), except that the burden shall be on the petitioner to show
   by a preponderance of the evidence that the rule received by the
   State under paragraph (1) should be withdrawn as a result of the
   amendment to the Federal standard. If the Secretary determines
   that the petitioner has shown that the rule issued by the State
   should be so withdrawn, the Secretary shall withdraw it.
(e) Exception for certain State procurement standards
Any State regulation which sets forth procurement standards for a
State (or political subdivision thereof) shall not be superseded by the
provisions of this part if such standards are more stringent than the
corresponding Federal energy conservation standards.
(f) Exception for certain building code requirements
   (1) A regulation or other requirement enacted or prescribed before
   January 8, 1987, that is contained in a State or local building code
   for new construction concerning the energy efficiency or energy use
   of a covered product is not superseded by this part until the effective
   date of the energy conservation standard established in or
   prescribed under section 6295 of this title for such covered product.
   (2) A regulation or other requirement, or revision thereof, enacted or
   prescribed on or after January 8, 1987, that is contained in a State
   or local building code for new construction concerning the energy
   efficiency or energy use of a covered product is not superseded by
   this part until the effective date of the energy conservation standard
   established in or prescribed under section 6295 of this title for such
   covered product if the code does not require that the energy
   efficiency of such covered product exceed—
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  (A) the applicable minimum efficiency requirement in a national
  voluntary consensus standard; or
  (B) the minimum energy efficiency level in a regulation or other
  requirement of the State meeting the requirements of subsection
  (b)(1) or (b)(5),
whichever is higher.
(3) Effective on the effective date of an energy conservation standard
for a covered product established in or prescribed under section 6295
of this title, a regulation or other requirement contained in a State
or local building code for new construction concerning the energy
efficiency or energy use of such covered product is not superseded by
this part if the code complies with all of the following requirements:
  (A) The code permits a builder to meet an energy consumption or
  conservation objective for a building by selecting items whose
  combined energy efficiencies meet the objective.
  (B) The code does not require that the covered product have an
  energy efficiency exceeding the applicable energy conservation
  standard established in or prescribed under section 6295 of this
  title, except that the required efficiency may exceed such standard
  up to the level required by a regulation of that State for which the
  Secretary has issued a rule granting a waiver under subsection
  (d).
  (C) The credit to the energy consumption or conservation objective
  allowed by the code for installing covered products having energy
  efficiencies exceeding such energy conservation standard
  established in or prescribed under section 6295 of this title or the
  efficiency level required in a State regulation referred to in
  subparagraph (B) is on a one-for-one equivalent energy use or
  equivalent cost basis.
  (D) If the code uses one or more baseline building designs against
  which all submitted building designs are to be evaluated and such
  baseline building designs contain a covered product subject to an
  energy conservation standard established in or prescribed under
  section 6295 of this title, the baseline building designs are based
  on the efficiency level for such covered product which meets but

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  does not exceed such standard or the efficiency level required by a
  regulation of that State for which the Secretary has issued a rule
  granting a waiver under subsection (d).
  (E) If the code sets forth one or more optional combinations of
  items which meet the energy consumption or conservation
  objective, for every combination which includes a covered product
  the efficiency of which exceeds either standard or level referred to
  in subparagraph (D), there also shall be at least one combination
  which includes such covered product the efficiency of which does
  not exceed such standard or level by more than 5 percent, except
  that at least one combination shall include such covered product
  the efficiency of which meets but does not exceed such standard.
  (F) The energy consumption or conservation objective is specified
  in terms of an estimated total consumption of energy (which may
  be calculated from energy loss- or gain-based codes) utilizing an
  equivalent amount of energy (which may be specified in units of
  energy or its equivalent cost).
  (G) The estimated energy use of any covered product permitted or
  required in the code, or used in calculating the objective, is
  determined using the applicable test procedures prescribed under
  section 6293 of this title, except that the State may permit the
  estimated energy use calculation to be adjusted to reflect the
  conditions of the areas where the code is being applied if such
  adjustment is based on the use of the applicable test procedures
  prescribed under section 6293 of this title or other technically
  accurate documented procedure.
(4)(A) Subject to subparagraph (B), a State or local government is
not required to submit a petition to the Secretary in order to enforce
or apply its building code or to establish that the code meets the
conditions set forth in this subsection.
(B) If a building code requires the installation of covered products
with efficiencies exceeding both the applicable Federal standard
established in or prescribed under section 6295 of this title and the
applicable standard of such State, if any, that has been granted a
waiver under subsection (d), such requirement of the building code


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   shall not be applicable unless the Secretary has granted a waiver for
   such requirement under subsection (d).
(g) No warranty
Any disclosure with respect to energy use, energy efficiency, or
estimated annual operating cost which is required to be made under the
provisions of this part shall not create an express or implied warranty
under State or Federal law that such energy efficiency will be achieved
or that such energy use or estimated annual operating cost will not be
exceeded under conditions of actual use.




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